                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION - FLINT
IN RE:
                                                     CASE NO. 12-33264-dof
CHRISTOPHER D. WYMAN,                                CHAPTER 7
                                                     HONORABLE DANIEL S. OPPERMAN
            DEBTOR,
_________________________________/

Samuel D. Sweet, Trustee,                            Adversary No. 19-03018-dof
             Plaintiff,
v

Barbara Duggan,
             Defendant.
_________________________________/

              ANSWER TO AFFIRMATIVE DEFENSES AND COUNTER-CLAIM

         NOW COMES Plaintiff/Trustee, Samuel D. Sweet, by and through his counsel, Samuel
D. Sweet, PLC, and hereby in answer relative to the affirmative defenses of the
Defendant/Counter-Plaintiff hereby states as follows:
         1.     Neither admit nor deny as the statement contains a legal conclusion.
         2.     Neither admit nor deny as the statement contains a legal conclusion.
         3.     Neither admit nor deny as the statement contains a legal conclusion.
         4.     Neither admit nor deny as the statement contains a legal conclusion.
         5.     Neither admit nor deny as the statement contains a legal conclusion.
         6.     Neither admit nor deny as the statement contains a legal conclusion.
         7.     Neither admit nor deny as the statement contains a legal conclusion.
         8.     Neither admit nor deny as the statement contains a legal conclusion.


                                   COUNTER COMPLAINT
         NOW COMES Counter-Defendant/Trustee, Samuel D. Sweet, by and through his
counsel, Samuel D. Sweet, PLC, and hereby in answer relative to the counter complaint of the
Defendant/Counter-Plaintiff states as follows:
         1.     Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
         2.     Neither admit nor deny as the statement requires a legal conclusion.



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       3.     Neither admit nor deny as the statement requires a legal conclusion.
       4.     Neither admit nor deny as the statement requires a legal conclusion.


                         COUNT I: DECLARATORY JUDGMENT
       5.     Admit.
       6.     Admit as the statute speaks for itself.
       7.     Neither admit nor deny as the statute speaks for itself.
       8.     Admit as the statute speaks for itself.
       9.     Neither admit nor deny as the statement requires a legal conclusion.
       10.    Neither admit nor deny as the statement requires a legal conclusion.


       WHEREFORE, Counter-Defendant/Trustee respectfully requests this Honorable Court
deny the requested Counter Claim and dismiss said claim forthwith.


               COUNT II: BREACH OF FIDUCIARY DUTY AND WASTE
       11.    Admit.
       12.    Admit.
       13.    Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       14.    Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       15.    Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       16.    Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       17.    Admit.
       18.    Denied as the Trustee had no ability to liquidate the property until an Adversary
              Proceeding was resolved in which the estate had sued Michelle Pichler who was
              actually the owner of record of said property.
       19.    Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       20.    Neither admit nor deny as the testimony of Trustee Sweet speaks for itself.
       21.    Denied.
       22.    Denied.
       23.    Denied.




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       WHEREFORE, Plaintiff/Trustee respectfully requests this Honorable Court deny the
requested relief by the Defendant/Counter-Plaintiff and dismiss said claim forthwith.
                         COUNT III: ABANDONMENT 11 USC 554(b)
       24.     Admit.
       25.     Admit.
       26.     Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       27.     Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       28.     Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       29.     Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       30.     Neither admit nor deny as the statute speaks for itself.
       31.     Neither admit nor deny as the statement requires a legal conclusion.
       32.     Neither admit nor deny as the statement requires a legal conclusion.
       33.     Neither admit nor deny as the statement requires a legal conclusion.
       34.     Denied.
       35.     Denied.
       WHEREFORE, Plaintiff/Trustee prays this Honorable Court deny and dismiss this
Counter Claim by the Plaintiff forthwith.



                                              Respectfully submitted,

                                              SAMUEL D. SWEET, PLC

                                              By: /s/ Samuel D. Sweet
                                              Samuel D. Sweet (P48668)
                                              Attorneys for Trustee
                                              P.O. Box 757
                                              Ortonville, MI 48462-0757
Dated: 4/9/2019                               (248) 236-0985
                                              ssweet@trusteesweet.us




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                         UNITED STATES BANKRUPTCY COURT
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IN RE:
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                                                     HONORABLE DANIEL S. OPPERMAN
            DEBTOR,
_________________________________/

Samuel D. Sweet, Trustee,                            Adversary No. 19-03018-dof
             Plaintiff,
v

Barbara Duggan,
             Defendant.
_________________________________/

                                 CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the following:

         Answer to Affirmative Defenses and Counter Claim

was electronically served on the 9th day of April, 2019, upon:

         Dennis L. Perkins                           Elie Bejjani
         Attorney for Debtor                         Attorney for Barbara Duggan
         bkperk@sbcglobal.net                        elie@bejjanilaw.com
         (Via ECF Only)                              (Via ECF Only)

was served via First Class Mail, pre-paid postage, on this 9th day of April, 2019, addressed as
follows:

         Christopher D. Wyman                        Michael E. Tindall
         6241 Grand River Road                       18530 Mack Ave., Ste. 430
         Brighton, MI 48114                          Detroit, Michigan 48236



                                              /s/ Jessica A. Will
                                             SAMUEL D. SWEET, PLC
                                             Jessica A. Will, Legal Assistant
                                             P.O. Box 757
                                             Ortonville, MI 48462-0757
                                             (248) 236-0985
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